
979 A.2d 1291 (2009)
410 Md. 621
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Frank Plowden JENKINS, Respondent.
Misc. Docket AG No. 10 September Term, 2009.
Court of Appeals of Maryland.
September 15, 2009.

ORDER
Upon consideration of the Joint Petition for Disbarment by consent filed herein, pursuant to Maryland Rule 16-772, it is this 15th day of September, 2009,
ORDERED by the Court of Appeals of Maryland, that Frank Plowden Jenkins, be and is hereby disbarred by consent from the further practice of law in the State of Maryland, effective immediately, and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Frank Plowden Jenkins from the registry of attorneys, and pursuant to Maryland Rule 16-772(d), shall certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and the Clerks of all judicial tribunals in this State.
